Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 1 of 11




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


  UNITED STATES OF AMERICA
                                                           Case No.: 9:22-mj-08332-BER
                     v.

  SEALED SEARCH WARRANT
                                                     /

       CONSOLIDATED REPLY OF ALL MEDIA INTERVENORS IN FURTHER
     SUPPORT OF MOTION FOR ACCESS TO ALL SEARCH WARRANT RECORDS

         Intervenors American Broadcasting Companies, Inc.; the Associated Press; Cable News

  Network, Inc. (“CNN”); CBS Broadcasting Inc.; Dow Jones & Company, Inc., publisher of The

  Wall Street Journal; the E.W. Scripps Company (“Scripps”); Gannett Co., Inc. d/b/a The Palm

  Beach Post; the McClatchy Company, LLC d/b/a the Miami Herald; NBCUniversal Media, LLC

  d/b/a NBC News; The New York Times Company; Times Publishing Company d/b/a the Tampa

  Bay Times; and WP Company LLC d/b/a The Washington Post (the “Media Intervenors”) submit

  this consolidated reply in response to the United States’ Omnibus Response to Motions to Unseal

  (“Resp.”) (ECF No. 59) and in further support of their motions (ECF Nos. 8, 20, 22, 23, 31, 32,

  33, 49) seeking an order unsealing and providing public access to all search warrant records,

  including the affidavit of probable cause.

         The government and the Media Intervenors agree that the public has a “clear and

  powerful interest” in understanding the unprecedented investigation into former President

  Donald J. Trump’s handling of classified records. They also agree that the common-law right of
Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 2 of 11




  access applies to the search warrant materials currently under seal.1 They further agree that the

  law required release of the search warrant and property receipt, which the Court has now done,

  and that the cover sheets for the search warrant application, the government’s motion to seal, and

  the Court’s sealing order should be unsealed immediately as well, all with only minor redactions.

  And they agree that the government may be able to make a sufficient showing of a compelling

  interest authorizing it to maintain under seal some details of the investigation while it remains

  ongoing.

         The government, however, has taken the position that the affidavit of probable cause

  must remain under seal in its entirety, despite the presumption of access, with little explanation

  as to how release would harm the ongoing investigation, and even though many details of the

  investigation are already public. In the government’s view, the necessary redactions “would be

  so extensive as to render the document devoid of content that would meaningfully enhance the

  public’s understanding of these events.” Resp. at 10. This runs counter to the presumption of

  public access, which requires the disclosure of as much information as possible. The affidavit of

  probable cause should be released to the public, with only those redactions that are necessary to

  protect a compelling interest articulated by the government.2



  1
   The government also recognizes that the distinct constitutional right of access applies to
  criminal proceedings, but argues that the right does not apply to pre-indictment search warrant
  materials. Resp. at 4 n. 3.
  2
    The government has agreed to the unsealing of the cover sheets for the search warrant
  application, the government’s motion to seal, and the Court’s sealing order. Resp. at 2; ECF No.
  57 (conditionally sealed filing of redacted materials). In a meet-and-confer call on August 15,
  2022 with counsel for Intervenors The Washington Post, CNN, NBC News, Scripps, and the
  Associated Press, the government asked whether they would consent to the continued sealing of
  the names of additional prosecutors referenced in those documents. (con’t)




                                                   2
Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 3 of 11



  I.     THE PUBLIC’S “CLEAR AND POWERFUL INTEREST”
         IN THE SEARCH WARRANT RECORDS EXTENDS TO
         THE AFFIDAVIT OF PROBABLE CAUSE.

         As Attorney General Merrick Garland aptly wrote when he was Chief Judge of the D.C.

  Circuit:

         The common-law right of public access to judicial records is a fundamental
         element of the rule of law, important to maintaining the integrity and legitimacy
         of an independent Judicial Branch. At bottom, it reflects the antipathy of a
         democratic country to the notion of ‘secret law,’ inaccessible to those who are
         governed by that law.”

  Leopold v. United States, 964 F.3d 1121, 1127 (D.C. Cir. 2020) (citation omitted); see also

  MetLife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661, 665 (2017) (Garland, J.) (right of

  access “serves to produce an informed and enlightened public opinion,” to “safeguard against

  any attempt to employ our courts as instruments of persecution, to promote the search for truth,

  and to assure confidence in judicial remedies” (internal marks omitted)).

         Separately, as the government notes, there is a First Amendment right of access to certain

  criminal proceedings. Resp. at 4 n.3. While the Eleventh Circuit has not considered whether the

  First Amendment right of access attaches to search warrant materials, the Eighth Circuit has

  recognized a First Amendment right, as has at least one court within this District. See In re

  Search Warrant for Secretarial Area Outside Office of Gunn, 855 F.2d 569, 573 (8th Cir. 1988);

  United States v. Shenberg, 791 F. Supp. 292, 293 (S.D. Fla. 1991). Although some courts have

  reached different conclusions, see Resp. at 4 n.3 (collecting cases), the Eighth Circuit’s view is

  more consistent with Supreme Court precedent. See Richmond Newspapers v. Virginia, 448 U.S.




  Counsel consented, at that time, on behalf of that group of media. All of the undersigned counsel
  now agree, on behalf of their respective clients, to the temporary continued sealing of the
  prosecutors’ names at this time. The government and counsel for the Media Intervenors have
  been unable to reach agreement on any other issues presently pending before the Court.



                                                   3
Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 4 of 11




  555, 580 (1980) (recognizing First Amendment right of access to criminal trials);

  Press-Enterprise Co. v. Super. Ct. of Cal., 478 U.S. 1, 12 (1986) (“It is true that unlike a criminal

  trial, the California preliminary hearing cannot result in the conviction of the accused and the

  adjudication is before a magistrate or other judicial officer without a jury. But these features,

  standing alone, do not make public access any less essential to the proper functioning of the

  proceedings in the overall criminal justice process.”); Press-Enterprise Co. v. Super. Ct. of Cal.,

  464 U.S. 501 (1984) (recognizing First Amendment right of access to voir dire in criminal case).

         Consistent with the presumption of access, the Department of Justice, under the Attorney

  General’s leadership, has joined the Media Intervenors in recognizing that the public has a “clear

  and powerful interest in understanding what occurred in” the search of Trump’s Mar-a-Lago

  residence, which “weighs heavily in favor of unsealing.” United States’ Mot. to Unseal Limited

  Warrant Materials at 4 (“Gov’t Mot.,”) (ECF No. 18); see also Resp. at 7 (“As the government

  has readily acknowledged, the circumstances here—involving a search of the premises for a

  former President—involve matters of significant public concern.”). In recognition of that public

  interest, this Court acted promptly and diligently to ensure public access to redacted versions of

  the search warrant and property receipt. See Order Granting Gov’t Mot. (ECF No. 41).

         That same public interest extends to the affidavit of probable cause in this matter, which

  outlines the government’s basis for the extraordinary step of seeking the warrant to search a

  former President’s home. See In re Four Search Warrants, 945 F. Supp. 1563, 1569 (N.D. Ga.

  1996) (recognizing “the public’s right to understand the legal process, the preservation of the

  integrity of the fact-finding process, and the furtherance of the appearance of fairness” as

  interests favoring unsealing of search warrants). The unsealed search warrant and property

  receipt revealed that Trump is under investigation for potentially violating the Espionage Act,




                                                   4
Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 5 of 11




  mishandling top secret documents, and obstruction of justice. Notice of Filing of Redacted

  Documents (ECF No. 17). In these circumstances, it is not merely a recitation of hornbook law

  to say that the public has a right to learn as much as possible, and as soon as possible, about this

  “historically significant event,” including the details of the investigation. Newman v. Graddick,

  696 F.2d 796, 803 (11th Cir. 1983); see also Globe Newspaper Co. v. Super. Ct., 457 U.S. 596,

  604-05 (1982) (right of access “ensure[s] that th[e] constitutionally protected discussion of

  governmental affairs is an informed one” (internal marks omitted)). Notably, the former

  President has made no objection to the release of any warrant materials, and in fact has gone

  further than the Media Intervenors, calling for “the immediate release of the completely

  Unredacted Affidavit” on social media.3

         The government has told the Court, in arguing to keep the affidavit under seal, that if it

  were to release the document, certain unspecified redactions would be “necessary to mitigate

  harms to the integrity of the investigation.”4 Resp. at 1 n.1. While the government characterizes

  those necessary redactions as “extensive” in making this argument, it admits that some portions

  of the document, if released, would not harm the investigation. Id. Yet the government thus far

  appears to have made no effort to identify the particular portions of the affidavit that it believes

  pose a risk and explain the basis for that belief, instead asserting that the Court is already

  “familiar with the highly sensitive contents of the affidavit and the specific harms that would

  result from its unsealing.” Id. at 8-9 n.6. To overcome the presumption of access, this Court



  3
   Donald J. Trump (@realDonaldTrump), TRUTH SOCIAL (Aug. 15, 2022),
  https://truthsocial.com/@realDonaldTrump/108830529259405266.
  4
    While the government represents that a redacted document would be “devoid of meaningful
  content,” Resp. at 1 n.1, any additional information about the unprecedented FBI raid on a
  former President’s home provides “meaningful content” to the public.



                                                    5
Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 6 of 11




  must make findings of fact on the record supporting closure. See, e.g., Press-Enterprise Co., 464

  U.S. at 510 (“The interest is to be articulated along with findings specific enough that a

  reviewing court can determine whether the closure order was properly entered.”). The

  government has offered the Court little assistance in this regard, given the high level of

  abstraction in its response.

          Any proposed redactions must be narrow, the government must explain to the Court why

  each redaction is necessary “to mitigate harms to the integrity of the investigation,” and only

  those redactions determined to meet a compelling need articulated by the government after the

  Court conducts an in camera review can be justified. See, e.g., Chi. Tribune Co. v.

  Bridgestone/Firestone, Inc., 263 F.3d 1304, 1314-15 (11th Cir. 2001); United States v. Vives,

  2006 U.S. Dist. LEXIS 92973, at *5 (S.D. Fla. Dec. 21, 2006). The Media Intervenors request

  the opportunity to be further heard by the Court should they wish to challenge any redactions in

  the affidavit as publicly filed.

  II.     THERE IS NO COMPELLING INTEREST IN CONTINUED SEALING
          OF INFORMATION ALREADY PUBLICLY DISCLOSED.

          As the government also recognized in its Motion to Unseal Limited Warrant Materials,

  the interest in maintaining secrecy is greatly diminished once the information contained in a

  judicial record has already been disclosed to the public through other sources. The government

  rightfully noted that the law required unsealing the warrant and property receipt because “the

  occurrence of the search and indications of the subject matter involved [were] already public.”

  Gov’t Mot. at 3; see also Newman, 696 F.2d at 803 (in deciding whether sealing is appropriate,

  court must consider “whether the press has already been permitted substantial access to the

  contents of the records”); Washington Post v. Robinson, 935 F.2d 282, 291-92 (D.C. Cir. 1991)

  (sealing not justified when same information had already been published in news reports).



                                                   6
Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 7 of 11




            Indeed, the press has already widely reported significant details about the events leading

  up to the search and the investigation, including that:

                  Some of the materials sought in the Mar-a-Lago search related to nuclear
                   weapons5 and/or “special access programs”6;

                  The National Archives referred the matter to the Justice Department after it
                   retrieved 15 boxes of materials from Mar-a-Lago in January7;

                  Some of the materials recovered by the National Archives were classified,
                   including signals intelligence8;

                  Some of the recovered materials were torn up and needed to be taped back
                   together9;




  5
   Josh Dawsey et al., Trump’s secrets: How a records dispute led the FBI to search Mar-a-Lago,
  WASHINGTON POST (Aug. 13, 2022), https://www.washingtonpost.com/national-
  security/2022/08/13/trump-mar-a-lago-search/; Lindsay Whitehurst, Timeline of events leading
  up to FBI search of Trump’s home, ASSOCIATED PRESS (Aug. 12, 2022),
  https://apnews.com/article/florida-donald-trump-mar-a-lago-merrick-garland-government-and-
  politics-5ffebbfdae66d71790195f67f282fe80.
  6
    Maggie Haberman et al., Files Seized From Trump Are Part of Espionage Act Inquiry, NEW
  YORK TIMES (Aug. 12, 2022), https://www.nytimes.com/2022/08/12/us/trump-espionage-act-
  laws-fbi.html; Catherine Herridge et al., FBI took boxes and documents in Trump search,
  sources say, CBS NEWS (Aug. 9, 2022), https://www.cbsnews.com/news/trump-mar-a-lago-
  search-fbi-documents-boxes/; see also Jay Weaver & Michael Wilner, Rubio suggests Mar-a-
  Lago search was a ‘ruse’ to find Jan. 6 evidence, MIAMI HERALD (Aug. 12, 2022),
  https://www.miamiherald.com/news/local/article264385506.html.
  7
      Dawsey et al., supra note 5; Whitehurst, supra note 5.
  8
    Id.; Kathryn Watson, Fin Gomez, Mar-a-Lago search warrant released, reveals FBI seized top-
  secret classified documents, CBS NEWS (Aug. 12, 2022), https://www.cbsnews.com/news/mar-a-
  lago-search-warrant-released-today-trump-top-secret-classified-documents-espionage-act-2022-
  08-12/.
  9
    Holmes Lybrand et al., Timeline: The Justice Department criminal inquiry into Trump taking
  classified documents to Mar-a-Lago, CNN (Aug. 12, 2022),
  https://www.cnn.com/2022/08/09/politics/doj-investigation-trump-documents-
  timeline/index.html.



                                                     7
Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 8 of 11




               The Department of Justice launched an investigation and convened a grand jury10;

               This spring, the Department of Justice served a subpoena on Trump seeking
                additional classified materials in his possession11;

               Department of Justice officials, including Jay Bratt, the department’s chief of
                counterintelligence and export control, met at Mar-a-Lago in June with Trump
                attorneys Christina Bobb and Evan Corcoran12;

               During the June meeting, Trump briefly stopped by but did not answer any
                questions13;

               Also during the June visit, the group toured storage facilities at Mar-a-Lago and
                reviewed some materials there14;




  10
     Maggie Haberman & Glenn Thrush, Trump Lawyer Told Justice Dept. That Classified
  Material Had Been Returned, NEW YORK TIMES (Aug. 13, 2022),
  https://www.nytimes.com/2022/08/13/us/politics/trump-classified-material-fbi.html; Robert
  LeGare, Trump lawyers agree to public release of Mar-a-Lago search warrant for White House
  documents, CBS NEWS (Aug. 12, 2022), https://www.cbsnews.com/news/mar-a-lago-search-
  warrant-release-trump-lawyers-agree-today-2022-08-12/; Michael Wilner, Releasing Mar-a-
  Lago affidavit would ‘irreparably harm’ Trump probe, Justice Dept. says, MIAMI HERALD (Aug.
  16, 2022), https://www.miamiherald.com/news/politics-government/article264540681.html.
  11
     Lybrand et al., supra note 9; Melissa Quinn & Robert LeGare, Trump passports taken in FBI
  search of Mar-a-Lago returned to former president, CBS NEWS (Aug. 16, 2022),
  https://www.cbsnews.com/news/donald-trump-passports-fbi-search-mar-a-lago/.
  12
     Evan Perez et al., Trump lawyer claimed no classified material was at Mar-a-Lago in signed
  letter to Justice Department, CNN (Aug. 13, 2022),
  https://www.cnn.com/2022/08/13/politics/trump-attorney-classified-documents-mar-a-lago-
  search/index.html.
  13
     Alex Leary et al., FBI Quest for Trump Documents Started With Breeze Chats, Tour of a
  Crowded Closet, THE WALL STREET JOURNAL (Aug. 10, 2022),
  https://www.wsj.com/articles/fbi-quest-for-trump-documents-started-with-breezy-chats-tour-of-
  a-crowded-closet-11660169349.
  14
     Devlin Barrett et al., Mar-a-Lago search appears focused on whether Trump, aides withheld
  items, WASHINGTON POST (Aug. 9, 2022), https://www.washingtonpost.com/national-
  security/2022/08/09/trump-fbi-search-mar-a-lago/.



                                                 8
Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 9 of 11




                 Bratt subsequently sent an email to Corcoran instructing him to further secure the
                  area where the documents were kept15;

                 One of Trump’s attorneys signed a letter to the Department of Justice stating that
                  all materials marked as classified and held in storage at Mar-a-Lago had been
                  turned over16;

                 The Department of Justice also subpoenaed surveillance footage from Mar-a-
                  Lago, which showed that boxes were moved in and out the storage room where
                  the records at issue were kept17; and

                 Justice Department officials interviewed many current and former Trump
                  employees, at least one of whom indicated there may have been additional
                  classified materials remaining at Mar-a-Lago18.

           To the extent that the affidavit of probable cause contains any of this information, or

  other details about the investigation already reported in the press, there is no compelling interest

  in maintaining it under seal. Instead, those portions of the affidavit should be made public even

  if the Court finds a compelling interest to maintain other discrete portions under seal. See In re

  Four Search Warrants, 945 F. Supp. at 1568 (releasing redacted search warrant affidavits where

  “much of the information” they contained had “already been made widely available to the

  public” through news reports).




  15
     Glenn Thrush et al., Trump Search Said to Be Part of Effort to Find Highly Classified
  Material, New York Times (Aug. 11, 2022),
  https://www.nytimes.com/2022/08/11/us/politics/trump-fbi-subpoena.html.
  16
    Dawsey et al., supra note 5; Whitehurst, supra note 5; Andres Triay, Weeks before Mar-a-
  Lago search, Trump lawyer signed document saying all classified material had been removed,
  CBS News (Aug. 15, 2022), https://www.cbsnews.com/news/trump-mar-a-lago-search-lawyer/.
  17
       Haberman & Thrush, supra note 10.
  18
     Dawsey et al., supra note 5; Whitehurst, supra note 5; New insights into what may have led to
  warrant for searching Donald Trump’s Florida compound, NBC NEWS (Aug. 13, 2022),
  https://www.nbcnews.com/nightly-news/video/new-insights-into-what-may-have-led-to-warrant-
  for-searching-donald-trump-s-florida-compound-146116677510; see also Weaver & Wilner,
  supra note 6.



                                                    9
Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 10 of 11




          The government’s position that any redactions would “render the document devoid of

   content that would meaningfully enhance the public’s understanding of these events beyond the

   information already now in the public record,” Resp. at 10, turns the presumption of public

   access to judicial records on its head. The public is entitled to review judicial records unless

   there is a compelling interest to deny access, not if there is a sufficient reason to grant access to a

   redacted record, as the government has suggested. And it is the public itself, not the government,

   that should have the opportunity to determine whether the information available enhances its

   understanding of this historic event.

   III.   CONCLUSION

          For the foregoing reasons, and those set forth in their motions, the Media Intervenors

   respectfully request that the Court unseal any and all search warrant records. If the Court

   determines through in camera review that a compelling interest justifies sealing some portions of

   the search warrant records, the Media Intervenors respectfully request that those portions be

   redacted and the remainder of the records be unsealed.




                                                     10
Case 9:22-mj-08332-BER Document 67 Entered on FLSD Docket 08/17/2022 Page 11 of 11




    Dated: August 17, 2022                       Respectfully submitted,

    THOMAS AND LOCICERO PL                       BALLARD SPAHR LLP

    By: /s/ Carol Jean LoCicero                  By: /s/ Charles D. Tobin
        Carol Jean LoCicero (FBN 603030)             Charles D. Tobin (FBN 816345)
        Mark R. Caramanica (FBN 110581)              1909 K Street NW, 12th Floor
        601 South Boulevard                          Washington, DC 20006
        Tampa, FL 33606                              Telephone: 202.661.2218
        Telephone: 813.984.3060                      tobinc@ballarspahr.com
        clocicero@tlolawfirm.com
        mcaramanica@tlolawfirm.com                   Elizabeth Seidlin-Bernstein (pro hac vice)
                                                     1735 Market Street, 51st Floor
        Dana J. McElroy (FBN 845906)                 Philadelphia, PA 19103-7599
        915 Middle River Drive, Suite 309            Telephone: 215.665.8500
        Fort Lauderdale, FL 33304                    seidline@ballardspahr.com
        Telephone: 954.703.3418
        dmcelroy@tlolawfirm.com                  Attorneys for Intervenors WP Company LLC,
                                                 Cable News Network, Inc., NBCUniversal Media,
    Attorneys for Intervenors The New York       LLC, the E.W. Scripps Company, and the
    Times Company, CBS Broadcasting Inc., the    Associated Press
    McClatchy Company, LLC, and Times
    Publishing Company

    SHULLMAN FUGATE PLLC                         ATHERTON GALARDI MULLEN &
                                                 REEDER PLLC

    By: Rachel E. Fugate                         By: /s/ L. Martin Reeder, Jr.
        Rachel E. Fugate (FBN 144029)                L. Martin Reeder, Jr. (FBN 308684)
        Deanna K. Shullman (FBN 514462)              1641 Worthington Road, Suite 11
        Minch Minchin (FBN 1015950)                  West Palm Beach, FL 33409
        2101 Vista Parkway, Suite 4006               Telephone: 561.293.2530
        West Palm Beach, FL 33411                    martin@athertonlg.com
        Telephone: 813.935.5098
        rfugate@shullmanfugate.com               Attorneys for Intervenor The Palm Beach Post
        dshullman@shullmanfugate.com
        mminchin@shulmanfugate.com

    Attorneys for Intervenors Dow Jones &
    Company, Inc. and American Broadcasting
    Companies, Inc.




                                                11
